         Case 1:17-cv-05221-LLS Document 186 Filed 02/24/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
KATHRYN TOWNSEND GRIFFIN, HELEN
MCDONALD, and THE ESTATE OF CHERRIGALE
TOWNSEND,
                Plaintiffs,

               -against-                                     ECF CASE

EDWARD CHRISTOPHER SHEERAN, p/k/a ED                         17-cv-5221 (LLS)
SHEERAN, ATLANTIC RECORDING
CORPORATION, d/b/a ATLANTIC RECORDS,                         NOTICE OF MOTION –
SONY/ATV MUSIC PUBLISHING, LLC, and                          DEFENDANTS’ SEVENTH
WARNER MUSIC GROUP CORPORATION, d/b/a                        MOTION IN LIMINE
ASYLUM RECORDS

                       Defendants.


       PLEASE TAKE NOTICE, that upon the accompanying Declarations of Donald S. Zakarin and

Dr. Lawrence Ferrara and the accompanying Memorandum of Law, Defendants Edward Christopher

Sheeran, Atlantic Recording Corporation and Sony Music Publishing (US) LLC (f/k/a Sony/ATV

Music Publishing LLC) will move this Court, before the Honorable Louis L. Stanton at the Daniel

Patrick Moynihan United States Courthouse, Courtroom 21C, 500 Pearl Street, New York, New York,

10007, on a date and time to be determined by the Court, for an Order precluding Plaintiffs from

introducing at trial their proposed performance of the Let’s Get It On Deposit Copy as recorded on Audio

Exhibit 1 and Audio Exhibit 2, which Audio Exhibits are annexed to the accompanying Declaration of

Donald S. Zakarin. The reasons and grounds for this motion are more fully described in the

accompanying papers.

       Oral argument, if any shall be directed by the Court, shall be held on a date and at a time

designated by the Court.
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Dated: New York, New York
       February 24, 2023

                                           PRYOR CASHMAN LLP

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